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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     NORTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                   HON. ROBERT HOLMES BELL

 v.                                                         Case No. 2:12-cr-36-03

 JUSTIN CARL SAARI,

            Defendant.
 _________________________________/


                            ORDER OF DETENTION PENDING TRIAL


                                       Part I - Findings of Fact

The defendant, in open court, and with the advice of counsel, consented to detention, reserving the
right to have a detention hearing at a later time.

                            Part II - Statement of the Reasons for Detention

Based upon the consent of the defendant, the government's motion for detention is granted. The
defendant may request a detention hearing at a later date.

                               Part III - Directions Regarding Detention

The defendant is committed to the custody of the Attorney General or a designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of the court of the
United States or on request of an attorney for the government, the person in charge of the corrections
facility must deliver the defendant to the United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date: December 13, 2012                                      /s/ Timothy P. Greeley
                                                            TIMOTHY P. GREELEY
                                                            United States Magistrate Judge
